         Case 3:11-cr-03486-JAH                       Document 279                   Filed 05/17/12            PageID.791                      Page 1 of 3


    ~AO 2458 (CASD) (Rev" 8/11)    Judgment in a Criminal Case
               Sheetl



                                              UNITED STATES DISTRICT COURT zsntiAY \1 ~i~ 1: 22
                                                  SOUTHERN DISTRICT OF CALIFORNIA"", 1.'0;( I',                                                                      "
                                                                                                                      ~-'::~1~F~}i 's-}".", i·,,'·-        .' -.     "
                    UNITED STATES OF AMERICA                                         JUDGMENT IN A CRrMl~AL CASE                                           .::::l)
                                        v.                                           (For Offenses Committed On or After November I, 19~~::«
                                                                                                                      "{ -'«      «         -"




                           Kristen Berkenfield -2                                    Case Number: l1-cr-03486·JAH-2

                                                                                     Jami L Ferrara
                                                                                     Defendant's Attomey
    REGISTRATION NO. 28131298

    D
    THE DEFENDANT:
    18l pleaded guilty to count(s) One of the superseding information.
    D was found guilty on count(s)_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
         after a plea of not guilty,
         Accordingly, the defendant is adjudged guilty of such count(s), which involve the following otfense(s):
                                                                                                                                                       Count
    Title & Section                          Nature of Offense                                                                                        Number(s)
18:371                                Conspiracy to Make False Statement to Federally-Insured Institution                                             1




        The defendant is sentenced as provided in pages 2 through     3     of this judgment. The sentence is imposed pursuant
 to the Sentencing Reform Act of 1984.
 D    The defendant has been found not guilty on count(s) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

 18l Count(s)-=.re.:.:m=ai-=.n~in.l::g_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ is D                  arel8l dismissed on the motion of the United States.
 18l Assessment: $100.00.

 18l No fine                                       D      Forfeiture pursuant to order filed                                  , included herein.
                                                                                                  ----------------
      IT IS ORDERED that the defendant shall notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs. and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
defendant shall notifY the court and United States attorney of any material change in the defendant's economic circumstances,

                                                                              May 14,2012




                                                                              UNrVED STATES DISTRICT JUDGE

                                                                                ,/   /                                                                11-cr-03486-JAH-2
                                                                                1/
       Case 3:11-cr-03486-JAH                      Document 279                Filed 05/17/12             PageID.792              Page 2 of 3


AO 245B (CASD) (Rev.8/11) Judgment in a Criminal Case
           Sheet 2 -- Probation
                                                                                                            Judgment   Page      2     of        3
DEFENDANT: Kristen Berkenfield-2                                                                      D
CASE NUMBER: l1-cr-03486-JAH-2
                                                                  PROBATION
The defendant is hereby sentenced to probation for a term of:
Three years.

The defendant shall not commit another federal, state. or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use o~ a ?ontrolled
substance. The defendant shall submit to one drug test within IS days of placement on probation and at least two penodlc drug te~ts
thereafter as determined by the court. Testing requirements will not exceed submission of more than_4_drug tests per month durmg
the term of supervision, unless otherwise ordered by court.
       The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
       future substance abuse. (Check, if applicab Ie.)

o      The defendant shall not possess a trrearm, ammunition, destructive device, or any other dangerous weapon.
       The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
jgJ    Backlog Elimination Act of 2000, pursuant to 18 USC sections 3563(a)(7) and 3583(d).
o      The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901. et seq.) as directed
       by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides, works, is a student, or
       was convicted of a qualifying offense. (Check if applicable.)
o      The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
          If this judgment imposes a tine or restitution obligation, it is a condition of probation that the defendant pay any such fine or
restitution in accordance with the Schedule of Payments sheet of this judgment.
        The defendant shall comply with the standard conditions that have been adopted by this court (set fortb below). Tbe defendant shall
also comply with the special conditions imposed.

                                       STANDARD CONDITIONS OF SUPERVISION
  I)     the defendant shall not leave tbe judicial district without the permission of the court or probation officer;
  2)     the defendant shall report to the probation officer and sball submit a truthful and complete written report within the first five days
         of each month;
  3)     the defendant sball answer truthfully all inquiries by tbe probation officer and follow the instructions of the probation officer;
  4)     the defendant shall support bis or ber dependents and meet otber family responsibilities;
  5)     tbe defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
         acceptable reasons;
  6)     tbe defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)     the defendant shall refrain from excessive use ofalcobol and shall not purchase, possess, use, distribute, or administer any controlled
         substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)     the defendant shall not frequent places wbere controlled substances are illegally sold, used, distributed, or administered;
  9)     tbe defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
         a felony, unless granted permission to do so by the probation officer;
 10)     tbe defendant shall permit a probation officer to visit him or ber at any time at home or elsewhere and shall permit confiscation of
         any contraband observed in plain view of the probation officer;
 II)     the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
         officer;
 12)     the d~fe.ndant sball not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
         permission of the court; and
 13)     as. di:ected by tbe probation. officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's
         crlmmal record or personal blstory or characteristics and sball permit the probation officer to make such notifications and to confirm
         the defendant's compliance with sucb notification requirement.


                                                                                                                                     l1-cr-03486..JAH-2
         Case 3:11-cr-03486-JAH                       Document 279           Filed 05/17/12              PageID.793         Page 3 of 3


       AO 2458 (CASD) (Rev. 811l) Judgment in a Criminal Case
                  Sheet 3 - Special Conditions
                                                                                                          Judgment-Page _ _3_ of _......;;.._ _
       DEFENDANT: Kristen Berkenfield -2                                                            II
       CASE NUMBER: l1-cr-03486-JAH-2




                                             SPECIAL CONDITIONS OF SUPERVISION
~ Submit person, residence, office or vehicle to a ~e~rch, conducted by a U~ited States ~rob~tion Officer ~~ a reasonable ti~e and in a .
  reasonable manner, based upon reasonable suspIcIon of contraband or eVidence of a vIOlatIOn of a condition of release; faIlure to submIt to a
  search may be grounds for revocation; the defendant shall warn any other residents that the premises may be subject to searches pursuant to
  this condition.
o   If deported, excluded, or allowed to voluntarily return to country of origin, not reenter the United States illegally and report to the probation
    officer with 24 hours of any reentry to the United States; supervision waived upon deportation, exclusion or voluntary departure.
o   Not transport, harbor, or assist undocumented aliens.
o   Not associate with undocumented aliens or alien smugglers.
o   Not reenter the United States illegally.
o Not enter the Republic of Mexico without written permission of the Court or probation officer.
~ Report all vehicles owned or operated, or in which you have an interest, to the probation officer.
o   Not possess any narcotic drug or controlled substance without a lawful medical prescription.
o   Not associate with known users of, smugglers of, or dealers in narcotics, controlled substances, or dangerous drugs in any form.
o Participate in a program of mental health treatJnent as directed by the probation officer, take all medications as prescribed by a
  psychiatrist/physician, and not discontinue any medication without permission. The Court authorizes the release of the presentence report
    and available psychological evaluations to the mental health provider, as approved by the probation officer. Allow for reciprocal release of
    information between the probation officer and the treatment provider. May be required to contribute to the costs of services rendered in an
    amount to be determined by the probation officer, based on the defendant's ability to pay.
o officer,
  Take no medication containing a controlled substance without valid medical prescription, and provide proof of prescription to the probation
           if directed.
~ Provide complete disclosure of personal and business financial records to the probation officer as requested.
~ Be prohibited from opening checking accounts or incurring new credit charges or opening additional lines of credit without approval of the
    probation officer.
o Seek and maintain full time employment and/or schooling or a combination of both.
o   Resolve all outstanding warrants within               days.
o   Complete             hours of community service in a program approved by the probation officer within
o Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a period of
o Participate in a program of drug or alcohol abuse treatJnent, including urinalysis or sweat patch testing and counseling, as directed by the
    probation officer. Allow for reciprocal release of information between the probation officer and the treatment provider. May be required to
    contribute to the costs of services rendered in an amount to be determined by the probation officer, based on the defendant's ability to pay.




                                                                                                                                  l1-cr-03486-JAH-2
